               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       BRYSON CITY DIVISION
                   CRIMINAL CASE NO. 2:13-cr-15-MR


UNITED STATES OF AMERICA        )
                                )
              vs.               )                     MEMORANDUM OF
                                )                    DECISION AND ORDER
                                )
JERRY FRANCIS PARKER (1)        )
WALTER HENRY STANCIL (4)        )
_______________________________ )


       THIS MATTER is before the Court on the motions for post-verdict

acquittal filed by Defendants Jerry Francis Parker and Walter Henry Stancil

pursuant to Federal Rule of Criminal Procedure 29. [Docs. 131 and 132].

The Government has responded to the Defendants’ motions. [Doc. 136].

                            PROCEDURAL HISTORY

       Defendants Jerome Brock Parker, Jerry Francis Parker, Carl Wesley

Junaluska II,1 Walter Henry Stancil, and Walter Cale Stancil,2 were named

in a two-count Indictment returned by the grand jury in this District on June

4, 2013. [Doc. 1]. All five men were charged in Count One with a two-object



1 Defendant Junaluska was dismissed from this matter November 21, 2013.    [Doc. 73].

2 Defendant Walter Cale Stancil was dismissed from this matter February 25, 2014. [Doc.

87].


   Case 2:13-cr-00015-MR-DLH       Document 156      Filed 06/03/15   Page 1 of 48
conspiracy to violate wildlife laws and regulations in derogation of the Lacey

Act.3 The grand jury alleged that from October 24, 2011, to October 28,

2011, in two separate incidents – one occurring in North Carolina and one

occurring in Georgia – the defendants conspired to sell, acquire, receive, and

transport American black bear, with a market value in excess of $350, by

providing guiding services for money and other consideration, knowing the

bear to have been taken, possessed, transported, and sold in violation of

state and federal law. [Id. at 1-5]. Count Two contained a Lacey Act violation

and alleged the Parker Defendants should be punished federally, pursuant

to 16 U.S.C. § 3372(a)(1), for illegally taking wildlife on federal forest land in

violation of North Carolina wildlife laws and regulations as assimilated

pursuant to 18 U.S.C. § 13. [Id. at 5-6].

      On December 4, 2013, in nearly identical motions and memoranda, the

Parkers4 moved the Court to dismiss the Indictment filed against them based

upon the alleged want of subject matter jurisdiction. [Docs. 77-81]. The

Government responded by filing its Memorandum in Opposition together with

exhibits. [Docs. 82; 83]. The Court heard arguments from counsel for all


3 The Lacey Act, 16 U.S.C. § 3371 et seq., is a collection of statutes that imposes federal

penalties for certain violations of state fish and wildlife laws and regulations. United
States v. Dove, 247 F.3d 152, 156 (4th Cir. 2001).

4 Defendant Walter Henry Stancil did not join in the Parkers’ dispositive motions.



                                            2
   Case 2:13-cr-00015-MR-DLH         Document 156      Filed 06/03/15    Page 2 of 48
parties on March 24, 2014, regarding Defendants’ dismissal motions. At the

conclusion of the hearing, the Court ordered additional briefing on the issue

of the Court’s subject matter jurisdiction. On March 28, 2014, Defendant

Jerry Parker filed a Motion to Dismiss for Entrapment and Due Process

Violations [Doc. 92] and a brief supplementing his Motion to Dismiss for Lack

of Jurisdiction. [Doc. 92-1]. On that same day, Defendant Jerome Parker

filed a Motion to Dismiss for Entrapment and Due Process Violations [Doc.

93] and a brief supplementing his Motion to Dismiss for Lack of Jurisdiction.

[Doc. 94]. The Government responded with separate memoranda filed April

3, 2014, and April 18, 2014. [Docs. 95; 96]. The Court conducted a second

hearing on the Defendants’ dismissal motions on May 29, 2014.

      On August 1, 2014, in accordance with a lengthy Memorandum of

Decision, the Court entered an Order denying the Parkers’ motions to

dismiss for lack of subject matter jurisdiction. United States v. Parker, 36

F.Supp.3d 550 (W.D.N.C. 2014). The Parkers and Walter Henry Stancil

proceeded to trial September 3, 2014. Following the close of the evidence,

the Court instructed the jury. In particular, and with regard to Count One of

the Indictment, 5 the Court charged the jury:


5 The Indictment contained seven Overt Acts. However, the Government conceded, prior

to the Court instructing the jury, that Overt Act number 2 should not be submitted to the
jury as a predicate Lacey Act offense. [Cf. Doc. 1 at 2-3; Sept. 5, 2014, Trial Transcript
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   Case 2:13-cr-00015-MR-DLH         Document 156      Filed 06/03/15    Page 3 of 48
             I will now read Count One of the bill of indictment, the
      statutes the defendants are charged with violating, and the
      essential elements of the offense charged in Count One. Keep in
      mind as I read these instructions that when you go into the jury
      room, you will have a copy of the indictment so you do not need
      to try to memorize exactly how the charges are laid.

      Count One of the indictment reads as follows:

             From on or about October 24, 2011, through on or about
      October 28, 2011, in Macon County, within the Western District
      of North Carolina, and Rabun County, within the Northern District
      of Georgia, and elsewhere, the defendants, JERRY FRANCIS
      PARKER, JEROME BROCK PARKER, and WALTER HENRY
      STANCIL, did unlawfully, willfully, knowingly and intentionally
      combine, conspire, confederate and agree with one another and
      with others known and unknown to the Grand Jury to knowingly
      sell, acquire, receive, and transport wildlife that is, American
      black bear, with a market value in excess of $350, by providing
      guiding services for money and other consideration, knowing the
      wildlife to have been taken, possessed, transported, and sold [ ]
      in [an unlawful manner under state laws and regulations]; and to
      knowingly sell, acquire, receive, and transport in interstate
      commerce wildlife with a market value in excess of $350, that is,
      American black bear, which the defendants knew was taken,
      possessed, sold and transported [ ] in [an unlawful manner under
      state laws and regulations.]

                                    OVERT ACTS

            1) JERRY FRANCIS PARKER was an owner and operator
      of War Paint Kennels, a hunting guide service located in Rabun
      County, Georgia. On or about October 24, 2011, in Rabun
      County, JERRY FRANCIS PARKER received $1500 in cash to
      provide a multi-day guided bear hunt to a customer ("the
      customer") whom he knew to be a North Carolina resident and

at 5-6]. Accordingly, the Court omitted Overt Act number 2 from the jury instructions and
renumbered the following Overt Acts for the jury so that there would be no interruption in
the numerical sequence.
                                            4
   Case 2:13-cr-00015-MR-DLH         Document 156      Filed 06/03/15    Page 4 of 48
  to be licensed to hunt only in North Carolina. The customer had
  arranged for this hunting trip through telephone and email
  communications between himself in the Western District of North
  Carolina and JERRY FRANCIS PARKER in Georgia.

         2) Later in the day on or about October 24, 2011, JEROME
  BROCK PARKER guided the customer on a bear hunt in Macon
  County, North Carolina, in the Nantahala National Forest.
  JEROME BROCK PARKER directed the customer to shoot an
  American black bear, and the customer did so, killing it. That bear
  was a juvenile, weighing less than the 50 pounds minimum
  required by North Carolina law. North Carolina law limits a hunter
  to taking only one bear per season. JEROME BROCK PARKER
  informed the customer that he could tag and report the bear, in
  compliance with state wildlife laws, but that if the customer
  wanted a bigger bear they could get one. JEROME BROCK
  PARKER called his father, JERRY FRANCIS PARKER, and
  explained what had happened, and JERRY FRANCIS PARKER
  told the customer that it was up to the customer to decide what
  to do, but if the customer wanted to keep hunting, they could get
  him another bear. After that conversation, JEROME BROCK
  PARKER advised the customer to hide the bear carcass in a
  cave, not report it, and to continue hunting. The customer then
  hid the carcass in a cave and continued hunting.

       3) On or about October 25 and 26, 2011, JERRY FRANCIS
  PARKER arranged for other persons whose identity is known to
  the Grand Jury to guide the customer on bear hunts in Macon
  County, North Carolina, but no bear was taken.

        4) On or about October 27, 2011, JERRY FRANCIS
  PARKER guided the customer on a bear hunt in Macon County,
  North Carolina, but this hunt was unsuccessful. JERRY
  FRANCIS PARKER then drove the customer into Rabun County,
  Georgia, and guided him on a bear hunt there, although he knew
  the customer did not have a Georgia hunting license. That hunt,
  too, was unsuccessful.

      5) Later on or about October 27, 2011, JERRY FRANCIS
  PARKER arranged for WALTER HENRY STANCIL to take the
                                  5
Case 2:13-cr-00015-MR-DLH   Document 156    Filed 06/03/15   Page 5 of 48
      customer on a bear hunt in Rabun County, Georgia. STANCIL
      took the customer to a location in Rabun County and directed the
      customer to an area where STANCIL maintained a bait site,
      using a chocolate product as the bait. Georgia law prohibits the
      use of any type of bait to concentrate the bear population in any
      area or to lure them to any location that gives or might give a
      hunter an unnatural advantage when hunting bear. STANCIL
      described the various bears that frequented that site and gave
      the customer instructions on which ones should or should not be
      shot. Later that day, at that site, the customer shot and killed an
      adult black bear. WALTER HENRY STANCIL and his adult son,
      Walter Cale Stancil assisted the customer in transporting the
      bear carcass to the residence of JERRY FRANCIS PARKER,
      using Walter Cale Stancil's Toyota truck. JERRY FRANCIS
      PARKER and the customer processed the bear carcass.
      PARKER directed the customer to falsely report that the bear had
      been taken in North Carolina by "punching" his North Carolina
      license and reporting the kill to North Carolina wildlife authorities
      within 48 hours.

            6) On or about October 28, 2011, the customer transported
      the skin and meat from the bear from Rabun County, Georgia,
      into Macon County, North Carolina.

                      OBJECT OF THE CONSPIRACY

             It was the object of the conspiracy that the defendants sell
      wildlife with a market value in excess of $350, that is, American
      black bears, by conducting hunting guide services within the
      Nantahala National Forest in the Western District of North
      Carolina, and in the Northern District of Georgia, in which the
      wildlife was taken in violation of applicable federal or state law.
      All in violation of Title 18, United States Code, Section 371.

[Sept. 5, 2014, Trial Transcript at 108-112]. In addition to instructing the jury

as to the elements pertaining to the felonious conspiracy alleged in Count

One, the Court instructed the jury as to the elements pertaining to the lesser-

                                       6
   Case 2:13-cr-00015-MR-DLH     Document 156    Filed 06/03/15   Page 6 of 48
included misdemeanor conspiracy subsumed within Count One. [Id. at 119-

121].

        The jury returned its verdicts as to each Defendant on September 8,

2014. [Doc. 130]. Further, on its Verdict Sheet, the jury made findings on

each Overt Act alleged against the three Defendants as well as each Object

of the Conspiracy. [Id. at 1-2]. The jury acquitted Defendant Jerome Brock

Parker of all charges contained in each Count of the Indictment. [Id. at 4; 7].

The jury acquitted Defendant Jerry Francis Parker of all charges related to

the first object of the conspiracy in Count One, the felony charge contained

in the second object of the conspiracy in Count One, and the charge

contained in Count Two. The jury, however, convicted Defendant Jerry

Francis Parker of the misdemeanor charge contained in the second object

of the conspiracy in Count One that related to the Georgia wildlife violation.

[Id. at 2-6]. As to Defendant Walter Henry Stancil, the jury acquitted him of

all charges related to the first object of the conspiracy in Count One and the

felony charge contained in the second object of the conspiracy in Count One.

But, just as it did with Defendant Jerry Francis Parker, the jury convicted

Defendant Walter Henry Stancil only of the misdemeanor charge contained

in the second object of the conspiracy in Count One. [Id. at 5]. Defendants




                                      7
   Case 2:13-cr-00015-MR-DLH    Document 156    Filed 06/03/15   Page 7 of 48
Jerry Francis Parker and Walter Henry Stancil thereafter filed their motions

for post-verdict acquittal.

                          FACTUAL BACKGROUND

         Relevant to Defendants’ motions, the evidence taken in the light most

favorable to the Government disclosed the following.             A North Carolina

Wildlife Resources Commission Officer, Chad Arnold, as a part of a sting

operation, assumed the undercover persona of Chad Ryan. [Sept. 3, 2014,

Trial Transcript at 61]. In the early fall of 2011, Arnold, posing as Ryan,

called Defendant Jerry Francis Parker at his place of business, War Paint

Kennels in Rabun County, Georgia, to arrange hunting/guiding services.

[Id.].   Arnold told Parker6 that he was from Charlotte and that “a friend” had

recommended Parker as a hunting guide. [Id. at 62]. Through a series of

telephone calls, Parker told Arnold he and his outfitters would guide Arnold

on a bear hunt beginning October 24, 2011. [Id. at 63-66]. In a call Arnold

placed to Parker on September 28, 2011, Arnold advised Parker that he

possessed a North Carolina hunting license. [Gov. Trial Ex. 11]. Ultimately,

the fee Parker quoted Arnold for his services would be $1,500 and Parker




6 Unless otherwise indicated, for the remainder of this Order the Court will refer to
Defendant Jerry Francis Parker as “Parker” and Defendant Walter Henry Stancil as
“Stancil.”
                                         8
    Case 2:13-cr-00015-MR-DLH      Document 156     Filed 06/03/15   Page 8 of 48
guaranteed Arnold “a hundred percent” likelihood that Arnold would take a

bear. [Sept. 3, 2014, Trial Transcript at 67].

      On October 24, 2011, Arnold drove to Parker’s War Paint Kennels

establishment in Rabun County, Georgia, arriving at approximately 6:30 a.m.

[Sept. 3, 2014, Trial Transcript at 75]. Upon Arnold’s arrival, Parker met him

and received from Arnold a $1,500 cash payment to secure Parker’s services

for a five-day hunt. [Id.].   Beginning that day, Parker, and others working

with Parker (both indicted and unindicted), guided Arnold for several days of

hunting. During the first day of the hunt, Arnold shot and killed an undersized

juvenile bear. [Id. at 103-110]. It was this incident that formed the basis for

the grand jury’s charge alleging the North Carolina wildlife violation

contained in the first object of the conspiracy in Count One and the charge

in Count Two. [Doc. 1 at 1-6]. The Defendants were acquitted of those

charges.

      Also on his first hunting day, Arnold saw and met Stancil on two

occasions, once in the morning, and then later in the afternoon after he killed

the undersized bear. [Sept. 3, 2014, Trial Transcript at 112-13; 116-18].

Arnold finished his first day of hunting with Stancil at approximately 9:20 p.m.

that evening without taking any other game. [Id. at 118].     Arnold continued




                                       9
   Case 2:13-cr-00015-MR-DLH     Document 156    Filed 06/03/15   Page 9 of 48
hunting with Parker, Stancil and others on October 25, and 26, 2011, but was

not successful in killing any bears on either of those days. [Id. at 128-38].

      On the fourth day of his hunt, October 27, 2011, Parker guided Arnold

from approximately 6:30 a.m. until late in the afternoon. [Id. at 138-162].

The men were unsuccessful in taking any game and returned to Parker’s

business. [Id.]. Upon returning, Parker approached Arnold and asked him if

wanted to kill a bear that afternoon. [Id. at 163]. Parker continued by telling

Arnold that he knew someone who had a bear in his “cornfield” and that

Arnold should give this person a call. [Id.]. Arnold asked if the person was

Walt Stancil and Parker replied in the affirmative saying Arnold should “call

Walt.” [Id.]. Parker then cautioned Arnold: “You can kill them [bear] in

Georgia legal right now with a gun. You ain’t supposed to hunt over bait,

though. Ain’t nobody knows that. And I’ll tag it for you or whatever.” Gov.

Trial Ex. 15b. Arnold then called Stancil using a telephone number provided

by Parker. [Id. at 166]. Stancil told Arnold that if he wanted to kill a bear,

he needed to come over to Stancil’s house right away. Further, Stancil told

Arnold to bring a flash light “cause you’ll sit until dark.” [Id.]. Arnold loaded

his gear into his pickup truck and drove to Stancil’s home. [Id.].

      At Stancil’s house, Stancil met Arnold and told him to transfer his gear

to Stancil’s truck. [Id. at 169]. Stancil then drove Arnold “to Blue Ridge Road

                                       10
  Case 2:13-cr-00015-MR-DLH     Document 156     Filed 06/03/15   Page 10 of 48
which is not too far from his residence. Traveled up Blue Ridge Road and

then came to a metal building on the left-hand side of the road.” [Id.]. Stancil

let Arnold out of his truck and instructed him to walk up past the metal

building until he came to a large white oak tree with a platform attached to it

and a 55 gallon drum or barrel on the platform. [Id.].      There at that tree,

Stancil said, Arnold would later see two bear cubs arrive together with a sow

to visit the platform. [Id.]. Stancil told Arnold not to shoot the cubs or their

mother but to wait awhile longer as an adult male bear would visit the

platform after the other bears left. [Id. at 170].   Arnold walked up past a

metal building, found the tree with the platform Stancil had described, and

secreted himself about 50 yards away from the tree and began to wait. [Id.

at 173].

      As Stancil had predicted, two juvenile bears appeared first. They went

to the platform and began eating some of the contents of the barrel. [Id.].

Within a few minutes, a larger bear, one Arnold understood to be the cubs’

mother, arrived at the platform tree as well. According to Arnold’s testimony,

the sow came within 15 yards of where he was hiding, caught Arnold’s scent

from a change in the wind direction, “and took off running. When it did, the

two cubs jumped off the platform and followed.” [Id.]. Arnold stayed put and

continued to wait. After some time passed, another bear came alone to the

                                      11
  Case 2:13-cr-00015-MR-DLH     Document 156    Filed 06/03/15   Page 11 of 48
platform. “It came from the right-hand side of the platform. It came to the

white oak tree and turned and looked at me.” [Id.]. Once the bear looked

at Arnold, Arnold shouldered his rifle and shot the bear, striking it in the left

shoulder. [Id.].   The bear left the platform tree area and returned to the

woods. Arnold waited about 15 minutes until he “heard something crash”

and then began tracking the bear believing it to have died. [Id. at 174].

      Arnold was able to follow the bear’s blood trail for a short while but lost

it, in large measure, because it had become dark by that time. [Id. at 175].

Arnold called Stancil and told him he had shot a bear and asked for Stancil’s

assistance it trying to find it. [Id.]. While Arnold was waiting for Stancil to

arrive, he went over to the platform tree to investigate what the cubs had

eaten from inside the barrel. [Id. at 182]. What Arnold found in the drum was

crushed candy that he testified to be bits of M&Ms and “chocolate waste.”

[Id.]. Stancil arrived a short time later along with his son, Walter Cale Stancil

(Cale). [Id. at 175]. Arnold showed Cale where he had lost the bear’s blood

trial and Cale quickly located the carcass. [Id.].

      Arnold dragged the bear carcass into the pathway where the bear had

emerged from the woods. [Id. at 189]. In the meantime, Cale walked to his

pickup truck and then drove it back to where Arnold was located with the

bear. [Id.]. Arnold and both Stancils then loaded the bear carcass into the

                                       12
  Case 2:13-cr-00015-MR-DLH     Document 156     Filed 06/03/15   Page 12 of 48
truck and drove away from the platform tree. While driving away, Stancil

asked Arnold if he had called Parker to tell him about taking the bear. Arnold

replied that he had not called Parker because he was preoccupied with first

finding the bear carcass. Stancil suggested Arnold call Parker and then “get

ready to skin.” [Id. at 190].

      The three men first drove to Stancil’s home so that Arnold could

retrieve his vehicle and then Arnold followed the Stancils to Parker’s

business. [Id. at 193].    After arriving at Parker’s shop, the men unloaded

the bear and then Parker and Stancil conversed about how good the bear’s

coat looked, Parker commenting that the bear’s coat should look good

considering the thousands of dollars’ worth of bait the bear had eaten. [Id.

at 194]. The Stancils then went home and Parker and Arnold spent the next

thirty minutes skinning the bear and quartering its meat. [Id. at 196]. After

skinning the bear, Parker left Arnold to clean up. Arnold then hung the bear

skin and placed the meat in Parker’s cooler before going to bed in Parker’s

bunkhouse. [Id. at 199]. The following morning, Arnold awoke, gathered up

his belongings, and drove his truck to the cooler where the bear meat was

located and the skin was hanging. He loaded the bear meat and hide into

his truck and then drove back to North Carolina without seeing Parker that

day. [Id. at 201].

                                     13
  Case 2:13-cr-00015-MR-DLH     Document 156   Filed 06/03/15   Page 13 of 48
      On the facts recited above together with other evidence admitted at

trial, the jury convicted the Defendants of a misdemeanor conspiracy offense

subsumed within the second felonious object of the conspiracy alleged in

Count One. The jury specifically found that the Government had proved

beyond a reasonable doubt that second Object, namely that the Defendants

conspired to commit a Lacey Act violation in the State of Georgia. [Doc. 130

at 2]. The Court instructed the jury on the elements of this offense as follows:

      In order to establish another object of the conspiracy, a
      misdemeanor violation of the Lacey Act in Georgia, the
      government must prove each of the following essential elements
      beyond a reasonable doubt:

            1.    A member of the conspiracy, in the exercise of due
      care, should have known that wildlife had been taken by a hunter
      in violation of or in a manner unlawful under Georgia law or
      regulation;

            2.    A member of the conspiracy, for money or other
      valuable consideration, provided guiding, outfitting, or other
      services to the hunter who such conspirator, in the exercise of
      due care, should have known had taken wildlife in violation of or
      in a manner unlawful under any Georgia law or regulation; and

            3.    A member of the conspiracy knew that the hunter
      who had unlawfully taken the wildlife, transported, intended to
      transport, or attempted to transport such wildlife in interstate or
      foreign commerce.

      ************

            Members of the jury, I charge you that Georgia law requires
      hunters to follow certain rules and regulations in that State. In
      particular, the Georgia statutes and regulations require any
                                      14
  Case 2:13-cr-00015-MR-DLH     Document 156    Filed 06/03/15   Page 14 of 48
      individual who wishes to participate in hunting activities to obtain
      and possess a valid hunting license issued by the State of
      Georgia before engaging in any hunting activity. Also, Georgia
      laws and regulations prohibit the use of any type of bait to
      concentrate the bear population in any area or to lure them to
      any location that gives or might give a hunter an unnatural
      advantage when hunting bear.

[Sept. 5, 2014, Trial Transcript at 121-122]. The jury also specifically found

the Government had proved beyond a reasonable doubt two Overt Acts in

furtherance of this misdemeanor conspiracy, Overt Acts number 3 and

number 6. [Doc. 130 at 1].    These Overt Acts asserted:

      3) On or about October 25 and 26, 2011, JERRY FRANCIS
      PARKER arranged for other persons whose identity is known to
      the Grand Jury to guide the customer on bear hunts in Macon
      County, North Carolina, but no bear was taken.

      *********
            6) On or about October 28, 2011, the customer transported
      the skin and meat from the bear from Rabun County, Georgia,
      into Macon County, North Carolina.

      [Sept. 5, 2014, Trial Transcript at 111-112].


                          STANDARD OF REVIEW

      When confronted with a post-verdict motion for judgment of acquittal,

the Court must assess whether, taking the evidence in the light most

favorable to the Government, a rational trier of fact could have found the

essential elements of the charged offense beyond a reasonable doubt. See

United States v. Higgs, 353 F.3d 281, 313 (4th Cir. 2003) (holding that a
                                      15
  Case 2:13-cr-00015-MR-DLH     Document 156    Filed 06/03/15   Page 15 of 48
conviction must be sustained if there is “evidence that a reasonable finder of

fact could accept as adequate and sufficient to support a conclusion of a

defendant's guilt beyond a reasonable doubt”) (quoting United States v.

Burgos, 94 F.3d 849, 862 (4th Cir. 1996) (en banc)). The Court does not

weigh the credibility of witnesses but must accept any such determinations

made by the jury which are necessarily resolved by the verdict. See United

States v. Wilson, 118 F.3d 228, 234 (4th Cir. 1997) (holding that credibility

determinations are reserved for the jury, and if the evidence supports

different, reasonable interpretations, the jury decides which interpretation to

believe) (internal quotation marks omitted); United States v. Arrington, 719

F.2d 701, 704 (4th Cir. 1983).

                                 DISCUSSION

      The Defendants argue, in identical Rule 29 motions, that the Court

should acquit each of them of the misdemeanor Lacey Act conspiracy

violation for which the jury returned verdicts of guilty against them both.

[Doc. 130]. In support of their argument, the Defendants assert first that their

convictions are inconsistent with the jury’s Overt Act findings. [Docs. 131 at

4; 132 at 4]. Second, the Defendants assert that the Government engaged

in unlawful overreaching because the undercover agent “was an active

participant in the creation of the crime[.]” [Docs. 131 at 9; 132 at 7]. Finally,

                                       16
  Case 2:13-cr-00015-MR-DLH      Document 156    Filed 06/03/15   Page 16 of 48
Defendant Stancil alone argues insufficient evidence exists to warrant a

conclusion beyond a reasonable doubt that the bait stand where the

undercover agent killed the adult bear was located in Georgia. [Doc. 132 at

12].

I.      The Jury’s Alleged Inconsistent Verdict.

        In their first argument for acquittal, the Defendants contend that the

jury’s verdict finding them guilty of the misdemeanor conspiracy Lacey Act

violation was inconsistent with its Overt Act findings entered on the verdict

sheet.

        At the outset, it must be noted that Defendants’ argument does not

support their motions. They have moved for a judgment of acquittal pursuant

to Rule 29. A motion made thereunder is a test of the sufficiency of the

Government’s evidence. The jury’s findings, other than it having found the

Defendants guilty of one count each, is irrelevant to the question of the

sufficiency of the evidence to support those two convictions. Nevertheless,

Defendants’ maintain that they should be acquitted because they claim the

jury’s verdict is inconsistent with conviction. Not surprisingly, the Defendants

cite no authority for their novel position. An inconsistent verdict is no basis

for overturning a guilty verdict. See, United States v. Powell, 469 U.S. 57,

69 (1984) (acquittal on charges of conspiracy to possess cocaine and

                                       17
     Case 2:13-cr-00015-MR-DLH   Document 156      Filed 06/03/15   Page 17 of 48
possession of cocaine did not require that convictions of using telephone to

facilitate those offenses be vacated on ground of inconsistency of verdicts);

Dunn v. United States, 284 U.S. 390, 393 (1932) (defendant could be

convicted of maintaining a common nuisance by keeping intoxicating liquor

for sale at a specified place even though a jury found the defendant not guilty

of unlawful possession of intoxicating liquor and unlawful sale of such liquor).

This is true even in the situation where a defendant is convicted of conspiracy

but his only alleged co-conspirator is acquitted. United States v. Thomas,

900 F.2d 37, 40 (4th Cir. 1990).

      Moreover, there exists no inconsistency in the jury’s verdict. The

Defendants claim, as the tenet of their inconsistency argument, that the

Government’s failure of proof beyond a reasonable doubt regarding the four

“unproven” Overt Acts constituted the jury’s affirmative finding that all factual

assertions contained therein must be taken as disproved.              See, e.g.,

Defendants’ Motions (“The jury found that Jerry Parker was not a guide under

Overt Act Number 1 and that he did not provide a guiding service as alleged

in the Overt Act for a multi-day guided bear hunt to a customer and that he

knew to be a North Carolina resident and that he arranged communication

for that hunt in the State of Georgia.”). [Docs. 131 at 4; 132 at 4]. Defendants’

position is unsupported by logic. Some of the Overt Acts alleged in the

                                       18
  Case 2:13-cr-00015-MR-DLH     Document 156     Filed 06/03/15   Page 18 of 48
Indictment were lengthy and consisted of multiple factual assertions. If the

jurors found even one assertion of fact to be reasonably doubtful, they would

properly find the entirety of the Overt Act then under consideration to be

unproven.    It does not flow therefrom, however, that all of the factual

assertions in each of the four unproven Overt Acts were categorically false.

“Acquittal does not have the effect of conclusively establishing the untruth of

all the evidence introduced against the defendant.” United States v. Bernard,

757 F.2d 1439, 1444 (4th Cir. 1985) (quoting with approval United States v.

Sweig, 454 F.2d 181, 184 (2d Cir. 1972). As explained by the Fourth Circuit,

      Even where guilt or acquittal turns on the jury's resolution of one
      element of the crime, it does not necessarily follow that the jury,
      as a whole, based the acquittal on a factual finding. A verdict of
      acquittal demonstrates only a lack of proof beyond a reasonable
      doubt; it does not necessarily establish the defendant's
      innocence.

United State v. Isom, 886 F.2d 736, 738 (4th Cir. 1989).         Such is the case

with the jury’s verdict acquitting these Defendants of the felony conspiracy

but convicting them of the misdemeanor.

      As is relevant here, the Defendants were indicted for participating in a

felonious conspiracy to violate the Lacey Act. [Doc.1 ]. Defendants were

convicted of the lesser included misdemeanor conspiracy offense. The

difference between the two offenses is determined primarily by whether the

conspirators actually knew or rather reasonably should have known of the
                                      19
  Case 2:13-cr-00015-MR-DLH     Document 156    Filed 06/03/15     Page 19 of 48
hunter’s (Arnold’s) violation of wildlife regulations. Cf. 16 U.S.C. § 3373(d)(1)

with 16 U.S.C. § 3373(d)(2). In short, if conspirators know a hunter takes

wildlife illegally and they nevertheless agree to provide guiding services to

the hunter, they are guilty of the greater offense.                 If, however, the

conspirators agree to provide guiding services to a hunter but are recklessly

indifferent to the hunter’s illegal taking of wildlife, they are guilty of the lesser

crime. The jury instructions given by the Court at the Defendants’ trial

without any objection illustrate this point:

 FELONY LACEY ACT VIOLATION                    MISDEMEANOR LACEY ACT
         IN GEORGIA                             VIOLATION IN GEORGIA

       In order to establish another               In order to establish another
 object of the conspiracy, a violation     object of the conspiracy, a
 of the Lacey Act in Georgia, the          misdemeanor violation of the Lacey
 government must prove each of the         Act in Georgia, the government must
 following essential elements beyond       prove each of the following essential
 a reasonable doubt:                       elements beyond a reasonable
                                           doubt:
  1. A member of the conspiracy              1. A member of the conspiracy, in
 knew that wildlife had been taken by      the exercise of due care, should
 a hunter in violation of or in a          have known that wildlife had been
 manner unlawful under Georgia law         taken by a hunter in violation of or in
 or regulation;                            a manner unlawful under Georgia
  2. The market value of the wildlife      law or regulation;
 taken exceeded $350.00;                     2. A member of the conspiracy, for
  3. A member of the conspiracy, for       money        or     other    valuable
 money       or      other     valuable    consideration, provided guiding,
 consideration, knowingly provided         outfitting, or other services to the
 guiding, outfitting, or other services    hunter who such conspirator, in the
 to the hunter knowing such hunter         exercise of due care, should have
 had taken the wildlife in violation of    known had taken wildlife in violation

                                         20
  Case 2:13-cr-00015-MR-DLH       Document 156     Filed 06/03/15     Page 20 of 48
or in a manner unlawful under any          of or in a manner unlawful under any
Georgia law or regulation; and             Georgia law or regulation; and
  4. A member of the conspiracy              3. A member of the conspiracy
knew that the hunter who had               knew that the hunter who had
unlawfully taken the wildlife,             unlawfully taken the wildlife,
transported or intended to transport       transported, intended to transport,
such wildlife in interstate or foreign     or attempted to transport such
commerce.                                  wildlife in interstate or foreign
                                           commerce.


[Sept. 5, 2014, Trial Transcript at 118-121 (emphasis added)].

      The Defendants’ argument fails to recognize that the grand jury

returned an Indictment setting forth only overt acts laden with felonious-intent

language. This same language from the Indictment was incorporated into

the Court’s jury charge when the Court recounted to the petit jury the Overt

Acts as alleged by the grand jury. For example, Overt Act number 1 of the

Indictment, as read to the jury, stated:

      Overt acts. One, Jerry Francis Parker was an owner and operator
      of War Paint Kennels, a hunting guide service located in Rabun
      County, Georgia. On or about October 24, 2011, in Rabun
      County, Jerry Francis Parker received $1500 in cash to provide
      a multi-day guided bear hunt to a customer -- the customer to
      whom he knew to be a North Carolina resident and to be licensed
      to hunt only in North Carolina. …

[Doc. 1 at 2; Sept. 5, 2014, Trial Transcript at 109 (emphasis added)]. When

asked on the verdict sheet whether the Government had proven Overt Act

Number 1 beyond a reasonable doubt, and jury answered “No.” [Doc. 130

at 1]. The jury’s negative answer, however, was not a proclamation that none
                                      21
  Case 2:13-cr-00015-MR-DLH     Document 156      Filed 06/03/15   Page 21 of 48
of the events recited in Overt Act 1 ever occurred. Instead, and in the light

most favorable to the Government, it was simply an acknowledgment that

the jury maintained a reasonable doubt as to some aspect of that Overt Act.

The jury’s negative answer to Overt Act 1 can easily be reconciled with its

verdict of guilty as to the misdemeanor conspiracy violation of the Lacey Act

if, for instance, the jury was doubtful as to whether Parker knew in fact (rather

than in the exercise of due care should have known) the “customer” was not

licensed to hunt in Georgia and therefore had taken the bear there illegally.

The same logic holds true regarding Overt Act 5.

      Overt Act number 5 of the Indictment, as read to the jury, stated:

      Five. Later on or about October 27, 2011, Jerry Francis Parker
      arranged for Walter Henry Stancil to take the customer on a bear
      hunt in Rabun County Georgia. Stancil took the customer to a
      location in Rabun County and directed the customer to an area
      where Stancil maintained a bait site using chocolate product as
      bait. Georgia law prohibits the use of any type of bait to
      concentrate bear population in an area or to lure them to any
      location that gives or might give a hunter an unnatural advantage
      when hunting bear. Stancil described the various bears that
      frequented that site and gave the customer instructions on which
      ones should and should not be shot. Later that day after at the
      site the customer shot and killed an adult black bear. Walter
      Henry Stancil and his adult son Walter Cale Stancil assisted the
      customer in transporting the bear carcass to the residence of
      Jerry Francis Parker using Walter Cale Stancil’s truck. Jerry
      Francis Parker and the customer processed the bear the bear
      carcass. Parker directed the customer to falsely report that the
      bear had been taken in North Carolina by punching his North
      Carolina license and reporting the kill to North Carolina wildlife
      authorities within 48 hours.
                                       22
  Case 2:13-cr-00015-MR-DLH     Document 156     Filed 06/03/15   Page 22 of 48
[Doc. 1 at 3; Sept. 5, 2014, Trial Transcript at 111-12 (emphasis added)].

Here, again, the jury’s answer that the Government failed to prove all of the

assertions contained in Overt Act 5 beyond a reasonable doubt is easily

reconcilable with its guilty verdict convicting the Defendants of the

misdemeanor offense. Neither Defendant disputes that the “customer” shot

an adult black bear over bait at a location directed by Walter Henry Stancil.

Likewise, neither Defendant disputes that the Stancils, father and son, drove

the “customer” and the bear carcass to Parker’s house where Parker helped

the “customer” process the bear. In a light most favorable to the Government,

though, the jury appears to have been unwilling to impute actual knowledge

of the “customer’s” unlawful hunting methods to either Defendant. The petit

jury may well have done so by rejecting the grand jury’s contention, in Overt

Act 5, that Defendant Stancil was the person who maintained the illegal bait

site. Given all the evidence in the case, the jury’s verdict represents its

conclusion that Defendants, in the exercise of due care, should have known

that the “customer” had taken the adult black bear in violation of or in a

manner unlawful under Georgia law or regulation.

      The Defendants assert that they are entitled to acquittal because of an

inconsistency in the jury’s verdict. For the reasons stated, however, there is

no such inconsistency. Hence, Defendants’ argument must fail.
                                     23
  Case 2:13-cr-00015-MR-DLH    Document 156    Filed 06/03/15   Page 23 of 48
      Notwithstanding the failure of the premise underlying the Defendants’

Rule 29 motion, that motion brings into question the sufficiency of the

Government’s evidence to support the jury’s verdict. There was substantial

evidence to support each element of the charge against both Defendants

with regard to the offense of conviction. The evidence showed that following

three days of unsuccessful bear hunting, Parker suggested to Arnold that he

call Stancil about helping Stancil get rid of a bear from his “cornfield,” a none

too subtle euphemism for hunting bear at a bait platform known to Stancil.

Parker’s suggestion that Arnold “call Walt” about this hunting opportunity was

every bit as much an act of guiding as Parker physically taking Arnold to

some isolated spot in the forest Parker knew from experience was

frequented by bears. Stancil, for his part in this operation, knew exactly what

Parker meant when he sent Arnold over to his house. Stancil did not take

Arnold to any cornfield; he directed him to a bait barrel platform on a white

oak tree. Stancil even predicted for Arnold with remarkable accuracy the

number, gender, and sequence of bears that would appear at this bait site.

After Arnold killed the adult male bear, Parker and Stancil should have known

that it had been taken by Arnold in violation of Georgia law because it was

taken over bait – the bait to which Arnold had been directed. Further, by

helping Arnold skin the bear and quarter its meat, Parker and Stancil

                                       24
  Case 2:13-cr-00015-MR-DLH     Document 156     Filed 06/03/15   Page 24 of 48
provided guiding, outfitting, or other services to Arnold who they, in the

exercise of due care, should have known had taken the bear in violation of

Georgia law.

     The evidence also shows that the interstate commerce element of this

charge was fulfilled, and the jury so found. Overt Act 6, as set forth in the

Indictment and read to the jury, stated: “Six. On or about October 28, 2011,

the customer transported the skin and meat from the bear from Rabun

County, Georgia into Macon County, North Carolina.” [Sept. 5, 2014, Trial

Transcript at 112].   The jury found the Government had proven this Overt

Act beyond a reasonable doubt. [Doc. 130 at 1]. The jury’s finding in this

regard is significant because Overt Act 6 includes facts necessary to support

the third essential element to a finding of guilt for a misdemeanor conspiracy

violation of the Lacey Act. To be guilty of the misdemeanor offense, Parker

was required to know that Arnold “transported, intended to transport, or

attempted to transport” the bear remains in interstate commerce. The jury

found, according to its answer regarding Overt Act number 6, that Arnold

transported the bear remains in interstate commerce from Georgia to North

Carolina. The jury heard uncontested evidence, in the form of Arnold’s

testimony, that Arnold told Parker he was from Charlotte, North Carolina. In

finding the Defendants guilty, therefore, the jury drew the reasonable

                                     25
  Case 2:13-cr-00015-MR-DLH    Document 156    Filed 06/03/15   Page 25 of 48
inference that Parker knew Arnold “transported, intended to transport, or

attempted to transport” the bear remains from Georgia back to North

Carolina at the completion of Arnold’s hunting excursion. As such, there is

clearly substantial evidence in the record that a reasonable finder of fact

could accept as adequate and sufficient to support a conclusion of the

Defendants’ guilt beyond a reasonable doubt.

         Based upon the foregoing, the Court concludes that the jury’s guilty

verdict regarding the Defendants’ misdemeanor conspiracy violation of the

Lacey Act fully comports with its findings on each of the Overt Acts

addressed to its consideration. This is so given the mens rea differences

Congress ascribed respectively to a felony violation as opposed to a

misdemeanor violation of the Lacey Act. Moreover, the jury’s convictions of

both Defendants was fully supported by the evidence. Accordingly,

Defendants’ first argument for post-verdict acquittals is denied.

II.      The Government’s Alleged Creation of Crime.

         As their second argument for acquittal, the Defendants assert that the

actions of the Government’s lead investigator,

         undercover Agent Arnold, constituted a substantial and material
         pro-active conduct [sic] which gave rise to the criminal charges
         against the Defendant[s] by overt, direct participation by the
         undercover operation [sic] in the killing of the bear in violation of
         Georgia law and the actions of the undercover operative in

                                          26
      Case 2:13-cr-00015-MR-DLH    Document 156     Filed 06/03/15   Page 26 of 48
       transporting the bear across State lines was for the purposes of
       establishing a Lacey Act violation.

[Docs. 131 at 9; 132 at 7]. In support of their argument that the Government

created the crime for which they stand convicted, the Defendants cite to four

cases: (1) Sorrells v. United States, 287 U.S. 435 (1932); (2) Sherman v.

United States, 356 U.S. 369 (1958); (3) United States v. Stenberg, 803 F.2d

422 (9th Cir. 1986), superseded by statute, Pub.L. 100-653, § 101(3), 102

Stat. 3825 (1988), as recognized in United States v. Atkinson, 966 F.2d

1270, 1273 n.4 (9th Cir. 1992); and (4) United States v. Hudson, 3 F.Supp.3d

772 (C.D. Cal.), rev’d sub nom., United States v. Dunlap, No. 14-50129 (9th

Cir. 2014) (unpublished).7

       The Defendants’ argument that the Government created their crime

does not espouse a recognized theory for relief. Instead, the Defendants’

argument relies upon an amalgamation – a cherry picking – of language

taken from their cited court decisions addressing either the affirmative

defense of entrapment or the due process violation brought about by

governmental overreaching. While both of these principles originated from

the Supreme Court’s Sorrells decision, their independent evolutionary paths

have not been the model of clarity since. In order to address the Defendants’


7 The Court has no occasion to discuss the Hudson case further in this order since the

Ninth Circuit reversed that decision.
                                             27
   Case 2:13-cr-00015-MR-DLH            Document 156   Filed 06/03/15   Page 27 of 48
argument, it is therefore necessary to understand the Sorrells decision and

the mischief it unleashed.

       C.V. Sorrells was a World War I veteran living in Haywood County,

North Carolina, following the war.8 Sorrells, 287 U.S. at 439. In the summer

of 1930, Martin, a federal prohibition agent posing as a tourist from Charlotte,

was brought to Sorrells’ home near Canton by three friends of Sorrells’,

including Jones. Both Jones and Sorrells served in the 30th Division of the

American Expeditionary Forces during the war and, upon Jones learning that

Martin had served in the same Division, thought that Martin should meet

Sorrells because of their common bond. Shortly after arriving at Sorrells’

home, the men began recounting their war experiences. Soon thereafter,

Martin asked if Sorrells could get him some liquor. Sorrells responded that

he could not. Id. Later during the visit Martin renewed his liquor request a

second time without success. At some point, according to Martin, he asked

Sorrells a third time to get him some liquor, “whereupon defendant left his

home and after a few minutes came back with a half gallon of liquor for which

[Martin] paid the defendant $5.” Id. Martin testified at trial that he was the

“first and only person” of those present at Sorrells’ home to say anything



8 The trial in Sorrells was conducted in the same courtroom where the Defendants were

tried in the present case.
                                         28
   Case 2:13-cr-00015-MR-DLH      Document 156     Filed 06/03/15   Page 28 of 48
about procuring liquor and his purpose in doing so was to prosecute Sorrells

if he obtained any. Id. at 440.

      Jones was called as a witness at trial on behalf of the defendant. Jones

testified that he introduced Martin to Sorrells because Martin was “an old

30th Division man.” Id. Jones further testified that during the hour to hour

and a half visit at Sorrells’ home, Martin asked Sorrells “three or four or

probably five times to get him some liquor.” Id. Finally, Jones testified that

he never knew Sorrells to be in the liquor business and attributed Sorrells’

ultimate capitulation to the comradery owed a fellow 30th Division A.E.F.

alum. Id. The prosecution presented no evidence that the defendant had

ever possessed or sold any intoxicating liquor prior to the transaction in

question. Id. at 441.   The Government did present evidence that Sorrells

made a subsequent sale of liquor to Martin, and also that a search of the

defendant's premises two weeks later revealed eleven one-half gallon jars of

whisky hidden in a thicket seventy-five yards from the defendant's house,

and a ten-gallon keg containing three and a half gallons of wine secreted

near his residence. Sorrells v. United States, 57 F.2d 973, 980 (4th Cir.

1932).

      At trial, Sorrells relied upon the defense of entrapment. The district

court refused to sustain the defense, denying a motion to direct a verdict in

                                       29
  Case 2:13-cr-00015-MR-DLH       Document 156   Filed 06/03/15   Page 29 of 48
favor of Sorrells at the close of the prosecution’s case, and also refusing to

submit the issue of entrapment to the jury. Sorrells, 287 U.S. at 438. The

jury convicted Sorrells and the Fourth Circuit affirmed his conviction.

Sorrells, 57 F.2d at 978. The Supreme Court granted its writ of certiorari

limited to the question of whether the evidence was sufficient to go to the jury

upon the issue of entrapment. Sorrells, 287 U.S. at 439.

      Until granting its writ in Sorrells, the Court had no previous occasion to

expound upon “the issue of entrapment” or the contours of its applicability in

federal criminal cases. The Court began by noting that the Fourth Circuit’s

decision, finding no basis in law to ever support acquittal by entrapment, was

“opposed by decisions in all the other circuits” to have addressed the issue

and “the Fourth Circuit, in the instant case, was able to reach its conclusion

only by declining to follow the rule which it had laid down” in an earlier

decision. Id., 287 U.S. at 443 (citing Newman v. United States, 299 F. 128,

131 (4th Cir. 1924)).

      Chief Justice Hughes, writing for five members of the Court, explicitly

recognized the defense of entrapment. Critically, the Court held that the

defense exists as a matter of statutory construction and that it was not a

constitutional imperative.

            It is manifest that these arguments [about entrapment] rest
      entirely upon the letter of the statute. They take no account of the
                                      30
  Case 2:13-cr-00015-MR-DLH     Document 156    Filed 06/03/15   Page 30 of 48
      fact that its application in the circumstances under consideration
      is foreign to its purpose; that such an application is so shocking
      to the sense of justice that it has been urged that it is the duty of
      the court to stop the prosecution in the interest of the government
      itself, to protect it from the illegal conduct of its officers and to
      preserve the purity of its courts. But can an application of the
      statute having such an effect — creating a situation so contrary
      to the purpose of the law and so inconsistent with its proper
      enforcement as to invoke such a challenge — fairly be deemed
      to be within its intendment?

Id. at 446. As defined, entrapment prohibits law enforcement officers from

inducing criminal behavior in “otherwise innocent” persons – those not

predisposed to acting unlawfully. Id. at 448.

      Justice Roberts, writing for three9 members, concurred in the Court’s

result recognizing an entrapment defense.             In his opinion, however, an

entrapment defense based on any statute, silent with regard to affirmative

defenses, was a product of flawed logic.

      If we assume the defendant to have been a person of upright
      purposes, law abiding, and not prone to crime — induced against
      his own will and better judgment to become the instrument of the
      criminal purpose of another — his action, so induced, none the
      less falls within the letter of the law and renders him amenable
      to its penalties. Viewed in its true light entrapment is not a
      defense to him; his act, coupled with his intent to do the act,
      brings him within the definition of the law; he has no rights or
      equities by reason of his entrapment. It cannot truly be said that
      entrapment excuses him or contradicts the obvious fact of his
      commission of the offense. We cannot escape this conclusion by

9 Justice McReynolds voted to affirm the Fourth Circuit’s decision without opinion.   Id.,
287 U.S. at 453.

                                          31
   Case 2:13-cr-00015-MR-DLH       Document 156      Filed 06/03/15   Page 31 of 48
        saying that where need arises the statute will be read as
        containing an implicit condition that it shall not apply in the case
        of entrapment.

Id. at 456 (Roberts, J., concurring) (internal citation omitted). Justice Roberts

believed the proper focal point in analyzing the issue of entrapment was not

upon a statute’s “intendment” (or a defendant’s predilections for that matter),

but upon the Constitutional autonomy of the Judicial Branch.10                   First

principles required the courts, in circumstances where the zealousness of

law enforcement activity was so shocking to the sense of justice, to stop the

prosecution entirely in an effort to protect the purity of government. Id. at

455 (Roberts, J., concurring). Because neither civil courts in equity or of law

“tolerate the use of their process to consummate a wrong[,]” in Justice

Roberts’ view “[t]he doctrine of entrapment in criminal law is the analogue of

the same rule applied in civil proceedings.” Id.          Consequently, “[p]roof of

entrapment, at any stage of the case, requires the court to stop the

prosecution, direct that the indictment be quashed, and the defendant set at

liberty.” Id. at 457 (Roberts, J., concurring) (footnote omitted).



10  Members of the Court, in subsequent opinions, thus came to refer to the form of
entrapment defined by the majority as “subjective” entrapment due to the components of
inducement and predisposition. “Objective” entrapment was that form of entrapment
originally described by Justice Roberts which considered the actions of law enforcement
when carrying out an investigation. United States v. Russell, 411 U.S. 423, 440 (1973)
(Stewart, J., dissenting); Hampton v. United States, 425 U.S. 484, 496 (1976) (Brennan,
J., dissenting).
                                          32
     Case 2:13-cr-00015-MR-DLH     Document 156     Filed 06/03/15    Page 32 of 48
     A quarter century later, the issue of entrapment reappeared before the

Court. Sherman v. United States, 356 U.S. 369 (1958). In Sherman, the

defendant asked the Court to reverse his conviction asserting he was

entrapped as a matter of law. The factual narrative in Sherman followed the

same general theme as that contained in Sorrells.

     Defendant Sherman met Kalchinian, a government informant and his

future nemesis, while the two were recovering drug addicts in rehab.       356

U.S. at 371. After several subsequent meetings, Kalchinian asked Sherman

if he knew a good source of illicit drugs because Kalchinian felt he was not

responding to treatment.    From the beginning of such requests, Sherman

attempted to avoid the issue. “Not until after a number of repetitions of the

request, predicated on Kalchinian's presumed suffering, did petitioner finally

acquiesce.” Id. Thereafter, Kalchinian notified law enforcement that he had

another “seller” for them to prosecute and participated in an undercover

transaction with Sherman witnessed by the officers. Id. Sherman was

arrested and brought to trial on narcotics charges. His case was heard by a

jury who, following the trial court’s instructions, which included an

entrapment instruction, convicted him.      On appeal, the Second Circuit

affirmed.     The Supreme Court granted review and reversed Sherman’s

conviction.

                                     33
  Case 2:13-cr-00015-MR-DLH    Document 156    Filed 06/03/15   Page 33 of 48
     The Court began by noting that Sorrells firmly recognized the defense

of entrapment in the federal courts. Sherman, 356 U.S. at 372. It reiterated:

     The function of law enforcement is the prevention of crime and
     the apprehension of criminals. Manifestly, that function does not
     include the manufacturing of crime. Criminal activity is such that
     stealth and strategy are necessary weapons in the arsenal of the
     police officer. However, [a] different question is presented when
     the criminal design originates with the officials of the government,
     and they implant in the mind of an innocent person the
     disposition to commit the alleged offense and induce its
     commission in order that they may prosecute. The stealth and
     strategy become as objectionable police methods as the coerced
     confession and the unlawful search. Congress could not have
     intended that its statutes were to be enforced by tempting
     innocent persons into violations.

Id. (internal citation and quotation marks omitted). The Court observed that

agents who merely afford defendants an opportunity to commit an offense,

however, do not entrap them. “To determine whether entrapment has been

established, a line must be drawn between the trap for the unwary innocent

and the trap for the unwary criminal. The principles by which the courts are

to make this determination were outlined in Sorrells.” Id. at 372-73. Finding

as a matter of law that the police laid a trap for the unwary innocent, the

Court reversed Sherman’s conviction.




                                     34
  Case 2:13-cr-00015-MR-DLH    Document 156    Filed 06/03/15   Page 34 of 48
      In a post-script, the Court remarked that some contention11 existed for

reconsidering the reasoning supporting the majority opinion in Sorrells.

      It has been suggested that in overturning this conviction we
      should reassess the doctrine of entrapment according to
      principles announced in the separate opinion of Mr. Justice
      Roberts in Sorrells[.] To do so would be to decide the case on
      grounds rejected by the majority in Sorrells and, so far as the
      record shows, not raised here or below by the parties before us.
      We do not ordinarily decide issues not presented by the parties
      and there is good reason not to vary that practice in this case.

Id. at 376 (internal citation omitted). Following Justice Roberts’ lead, Justice

Frankfurter opined that the issue of entrapment was an issue best left for

courts, not juries, to address. “What police conduct is to be condemned,

because likely to induce those not otherwise ready and willing to commit

crime, must be picked out from case to case as new situations arise involving

different crimes and new methods of detection.” Id. at 384 (Frankfurter, J.,

concurring).      This was so for two reasons.            First, the Judicial Branch

possesses the constitutional mandate to preserve “the purity of its own

temple[.]” Second, a jury’s verdict finding entrapment resolves just one case

and has no precedential value going forward. Only the courts, “through the




11 It appears that Chief Justice Warren’s obscure reference to the person who “suggested”

Sorrells be reexamined was his colleague, Justice Frankfurter. Justice Frankfurter
penned a four-member concurring opinion in Sherman arguing vehemently that the Court
adopt the reasoning underlying Justice Robert’s position in Sorrells regarding entrapment.
Sherman, 356 U.S. at 378-385 (Frankfurter, J., concurring).
                                           35
   Case 2:13-cr-00015-MR-DLH        Document 156      Filed 06/03/15    Page 35 of 48
gradual evolution of explicit standards in accumulated precedents, can do

this with the degree of certainty that the wise administration of criminal justice

demands.” Id. at 385 (Frankfurter, J., concurring).

      From the foregoing discussion of the debate dividing the Court over

the proper genesis of entrapment, one can see the establishment and

refinement of the entrapment defense, as espoused by the majority opinions

in Sorrells and Sherman. One can also see the coalescence of a new

doctrine emerging from Justice Roberts’ concurrence in Sorrells. That new

doctrine, grounded in the Due Process clause of the Fifth Amendment, was

given the name “overzealous law enforcement” by the Court in United States

v. Russell, 411 U.S. 423, 435 (1973), and a similar name, “governmental

misconduct,” by the Court in Hampton v. United States, 425 U.S. 484, 489

(1976). While not cited by the Defendants in their Rule 29 memoranda,

Russell and Hampton represent some of the Court’s more recent

pronouncements on the issue of entrapment.

      Russell, like Sherman, was a drug case.            Unlike Mr. Sherman,

however, the defendants in Russell were not sympathetic drug addicts in the

throes of recovery, they were unabashed manufacturers of “speed” or

methamphetamine. 411 U.S. at 425. The process of making that drug,

though, depended upon the use of phenyl-2-propanone (“P2P”), a difficult to

                                       36
  Case 2:13-cr-00015-MR-DLH      Document 156    Filed 06/03/15   Page 36 of 48
obtain precursor chemical. Id. The undercover agent enlisted to investigate

the case made contact with the defendants, and upon gaining their

confidence, proposed that he would supply them with P2P in return for one

half of the final product made with it. Id.   The defendants accepted this

arrangement which led to one batch of methamphetamine being produced.

Id. at 426. When the undercover agent returned the following month to

pursue their “business arrangement,” he was told that the defendants were

still interested but that they had obtained two bottles of P2P from another

source and would not be finished using them for a couple days. Id. The agent

returned three days later with a search warrant and seized drug making

equipment and arrested the defendants. Id.       Russell proceeded to trial,

received an entrapment jury instruction, and was convicted. Id.

     On appeal to the Ninth Circuit, Russell conceded that the jury could

have believed he was predisposed to commit the charged crimes. However,

he argued he was entrapped as a matter of law because, but for the agent

providing the scarce and necessary P2P, he would have been unable to have

manufactured the drug. Id. at 427. The appellate court agreed, and in so

doing, according to the Supreme Court, “expanded the traditional notion of

entrapment, which focuses on the predisposition of the defendant, to

mandate dismissal of a criminal prosecution whenever the court determines

                                     37
  Case 2:13-cr-00015-MR-DLH    Document 156   Filed 06/03/15   Page 37 of 48
that there has been an intolerable degree of governmental participation in

the criminal enterprise.” Id. (internal quotations omitted).

      In a 5-4 decision, the Court reversed the Ninth Circuit’s opinion in

Russell and reaffirmed the traditional entrapment defense as espoused in

the majority opinions in Sorrells and Sherman. Id. at 436. Along the way,

however, the Court made a significant concession: “While we may some day

be presented with a situation in which the conduct of law enforcement agents

is so outrageous that due process principles would absolutely bar the

government from invoking judicial processes to obtain a conviction, the

instant case is distinctly not of that breed.” Id. at 431-32 (internal citation

omitted). It is in this way that the doctrine of “overzealous law enforcement,”

first described by Justice Roberts’ concurring opinion in Sorrells, was

identified as a potential defense in its own right.

      Not long after deciding Russell the Court confronted a case directly

raising the issue of “overzealous law enforcement.” In Hampton v. United

States, 425 U.S. 484 (1976), the defendant was convicted of heroin

distribution.   The defendant claimed the government engaged in

unconstitutional overreaching when an acquaintance of the defendant (who

was a government informant) sold the defendant some heroin which the

defendant in turn resold to undercover officers. “The Government [was]

                                       38
  Case 2:13-cr-00015-MR-DLH     Document 156     Filed 06/03/15   Page 38 of 48
doing nothing less than buying contraband from itself through an

intermediary and jailing the intermediary.” 425 U.S. at 498 (Brennan, J.,

dissenting). Although the defendant’s conviction was affirmed, the case

produced a 3-2-3 plurality of opinions.12 Justice Rehnquist, joined by two

other members, concluded that where government agents, a government

informant, and the defendant act in concert with one another, and the

defendant concedes a predisposition to commit the crime in question, both

the defense of entrapment and the defense of governmental overreaching

are unavailable and a defendant’s conviction must be affirmed. 425 U.S. at

485-491.     Justice Powell, joined by Justice Blackmun, concluded that

Hampton’s conviction must be affirmed based upon the Court’s rationale in

Russell but that a defendant’s predisposition to commit a crime does not

foreclose reliance on due process principles or on the Court's supervisory

power to bar his conviction. 425 U.S. at 491-496.                 Dissenting, Justice

Brennan, joined by two other members, reaffirmed his commitment to Justice

Stewart’s dissent in Russell (which he had joined originally), and Justice

Frankfurter’s concurrence in Sherman (which he had joined originally), and

expressed his full agreement with the view of Justice Roberts’ concurrence



12 Justice Stevens took no part in the consideration or decision of the case. 425 U.S. at

491.
                                          39
   Case 2:13-cr-00015-MR-DLH        Document 156      Filed 06/03/15   Page 39 of 48
in Sorrells. 425 U.S. at 496-500. As summarized well by the Third Circuit,

“[t]he rule that is left by Hampton is that although proof of predisposition to

commit the crime will bar application of the entrapment defense, fundamental

fairness will not permit any defendant to be convicted of a crime in which

police conduct was ‘outrageous.’ ” United States v. Twigg, 588 F.2d 373,

378-79 (3d Cir. 1978).

      In this circuit, following Hampton, “the ‘outrageous conduct’ doctrine

survives in theory, but is highly circumscribed. … [A] due process violation

may only be found when the conduct at issue ‘is outrageous, not merely

offensive.’ ” United States v. Hasan, 718 F.3d 338, 343 (4th Cir. 2013)

(internal citation omitted). Further, courts in this circuit must maintain a “high

shock threshold” and show “reluctance to vacate a conviction based on

outrageous government conduct that does not otherwise violate a

defendant's rights.” Id. The test to determine if government conduct is so

outrageous as to offend due process is whether such conduct is “shocking,”

or “offensive to traditional notions of fundamental fairness.” Id.

      This Court has taken pains to discuss the evolution both of the

entrapment defense and of the outrageous conduct defense, and it is against

this historical backdrop that the Court must resolve the Defendants’

argument for acquittal.       The Defendants argue “[t]he only way the

                                       40
  Case 2:13-cr-00015-MR-DLH      Document 156    Filed 06/03/15   Page 40 of 48
Government agent could invoke a Lacey Act violation under the

circumstances of the Government's case was to have the agent commit the

crime of killing the [bear] and transporting it across State lines.” [Docs. 131

at 10; 132 at 8].        While never denominated as such, the Defendants’

argument raises the constitutional defense of outrageous conduct or

governmental overreaching.13 The Defendants assert that Arnold initiated

the offense by contacting Parker posing as a purported hunting customer.

They further allege that the undercover agent was not merely an active

participant in the offense, he was the instrumental participant in the crime. A

necessary component of the crimes at issue was the killing of the bear in an

unlawful manner and it was the agent who killed the bear, albeit at a location

suggested by Stancil. Finally, they allege the undercover agent actually

manufactured the federal component of the offense by transporting the

bear’s carcass across state lines. [Docs. 131 at 9; 132 at 7].

      The Defendants raise a significant point that the evidence presented

at trial revealed questionable law enforcement tactics.                However, as it

pertains to the crime for which they stand convicted (i.e. the Georgia


13 The jury in this case was instructed on entrapment as an affirmative defense as to all

of the charges. In rendering their unanimous verdicts, the jurors found that the
Defendants were not entrapped – at least not as to their misdemeanor conspiracy
convictions arising from the conduct occurring in Georgia. Entrapment, however, might
well have been the basis of the acquittals for the offenses arising from the conduct
occurring in North Carolina. See, infra, n.14.
                                           41
   Case 2:13-cr-00015-MR-DLH        Document 156      Filed 06/03/15   Page 41 of 48
misdemeanor), the conduct of the undercover officer did not exceed the “high

shock threshold” set by the Fourth Circuit in Hasan. While Arnold did initiate

contact with Parker, this was to be expected given the nature of the business

under investigation. Defendants operated a hunting guide service led by

Parker. Any ordinary person wishing to engage the services of a hunting

guide must take the first step of contacting the guide. Thereafter, it is

incumbent upon the guide to conduct the hunting expedition in a lawful

manner.

       The evidence, taken in the light most favorable to the Government, was

that as of the fourth day of the guided hunting trip, Arnold had been unable

to shoot an adult bear and he sought further opportunities.14 The Defendants

directed him to a bait site where he did, in fact, kill an adult bear. The


14 The grand jury charged the Defendants with a two-object conspiracy.                [Doc. 1]. As
described above, the first Object of the conspiracy, for which the Defendants were
acquitted, alleged a Lacey Act violation in North Carolina. As a part of this investigation,
undercover agent Arnold, posing as a customer and patron of the Defendants’ hunting
guide services, shot and killed a juvenile bear in violation of state and federal wildlife
regulations. The activity of law enforcement in this way was indeed outrageous. The
agent admitted at trial violating fundamental rules of hunting and sportsmanship when he
testified that he shot the undersized bear without knowing anything about the animal other
than it was bear. “Q: In other words, you're not supposed to shoot something you can't
see or can't tell or can't analyze the totality of what your target is. Isn't that true? A: What
we teach is to know your target and what is beyond. Q: And that means by knowing your
target you need to know the size of your target. A: That’s Correct. … Q: So you shot
without verifying your target? A: That is correct.” [Sept. 3, 2014, Trial Transcript at 256-
57]. While no one outside the jury’s deliberative process can ever say for certain what
evidence led a jury to convict or to acquit in any given case, it is quite likely the activities
of law enforcement played a determinative role in the jury’s verdicts of not guilty with
regard to the charges arising from the conduct occurring in North Carolina.
                                               42
   Case 2:13-cr-00015-MR-DLH           Document 156        Filed 06/03/15     Page 42 of 48
Defendants then continued to guide and assist Arnold in the transportation,

skinning, and butchering of the bear when they reasonably should have

known that Arnold had taken the bear illegally at a bait site. Though the

agent was the one who killed the bear, the Defendants were the ones who

guided and assisted their “customer.” As for “creating the federal jurisdiction”

by the agent taking the bear remains to North Carolina, this was fully

expected by the Defendants because they knew Arnold to be from Charlotte,

North Carolina. Sternberg, cited by the Defendants, is insightful:

      Constitutionally unacceptable conduct includes, but is not limited
      to, situtations where law enforcement agents employed
      unwarranted physical or mental coercion, where government
      agents engineer and direct the criminal enterprise from start to
      finish, and where the government essentially manufactures new
      crimes in order to obtain the defendant's conviction[.] On the
      other hand, the outrageous conduct defense is generally
      unavailable where the criminal enterprise was already in
      progress before the government became involved or where the
      defendant was involved in a continuing series of similar crimes
      during the government conduct at issue.

Sternberg, 803 F.2d at 429 (internal citations and quotations omitted). These

facts do not support a claim that the agent’s conduct was “shocking,” or

“offensive to traditional notions of fundamental fairness.” Further, the jury

found that these facts did not overcome any absence of predisposition on

the part of the Defendants. Accordingly, Defendants’ second argument for

post-verdict acquittal is denied.

                                      43
  Case 2:13-cr-00015-MR-DLH     Document 156    Filed 06/03/15   Page 43 of 48
III.      Improper Venue/Lack of Jurisdiction.

          As his third argument for acquittal, Stancil asserts “the government

failed to prove venue and jurisdiction of the Georgia crime beyond a

reasonable doubt.”15 [Doc. 132 at 12]. Defendant Stancil claims that, aside

from evidence of Parker’s house and place of business being located in

Rabun County, Georgia, “there was no evidence whatsoever concerning

which state the ‘platform stand’ was located in.”16 [Id.] The jury concluded

otherwise and there exist several examples of evidence in the record that a

reasonable finder of fact could accept as adequate and sufficient to support

that conclusion.

          First, the jury heard testimony from the Arnold that he was in the State

of Georgia when he shot the second bear at a location directed by Stancil:



15 Though inartfully articulated, it appears that Stancil’s argument here is not related to

venue at all; Stancil argues that an element of the crime was not proven. In order to
convict Stancil on the Georgia Lacey Act violation, the Government must prove there was
a violation of Georgia wildlife laws. That could only have occurred if Arnold shot the adult
bear within the State of Georgia. Hence, if there was insufficient evidence on this point,
Stancil would be entitled to acquittal pursuant to Rule 29.

16 Stancil’s argument on this point is rather disingenuous.       In denying Stancil’s Rule 29
motion made on this point, the Court outlined some evidence from which the jury could
find, if it accepted as true, that the bait site was situated in Georgia. “I believe that on Mr.
McLean's cross-examination of Sergeant Arnold, Sergeant Arnold testified that it [killing
the bear at the bait site] occurred in Georgia and also Sergeant Arnold testified about the
directions he was given to get from Mr. Jerry Parker's bunk house to Mr. Stancil’s location.
And, taking that evidence in the light most favorable to the Government, that he could not
have gone the distance that would be necessary to go into the state of North Carolina.”
[Sept. 5, 2014, Trial Transcript at 1-2]. That specific evidence is more fully set forth below.
                                              44
       Case 2:13-cr-00015-MR-DLH      Document 156        Filed 06/03/15     Page 44 of 48
   Q: So you were through with Parker. You had paid him. You was
   going home. He gave you a phone number to call about a bear
   in a corn field and you called Walt Stancil. Correct?

   A: Correct.
                             ............

   Q: Now, that was – at that point in time where you were having
   this conversation with this man [Mr. Stancil] you were in the State
   of Georgia.

   A: That's correct.

   Q: When you pulled out of Jerry Parker's road did you go
   anywhere to buy a Georgia hunting license?

   A: No.

   Q: Did you even tell Jerry Parker that you didn't have a Georgia
   hunting license?

   A: No I did not.

   Q: Not one time in four days did you say Jerry, I ain't got no
   Georgia hunting license did you?

   A: No.
                            .............

   Q: All right. So at that point in time you called this man – I ain't
   even going to get into what you and him talked about, this Mr.
   Stancil, but you went over there somewhere with him and did
   what you and him did. Correct?

   A: Correct.

   Q: So then you go up this road. Who all went with you?

   A: I was by myself.

                                   45
Case 2:13-cr-00015-MR-DLH    Document 156    Filed 06/03/15   Page 45 of 48
      Q: By yourself.

      A: Mm-hmm.

      Q: In the State of Georgia. You were in the State of Georgia
      weren't you?

      A: That's correct.

[Sept. 3, 2014, Trial Transcript at 284-85; 287]. In the light most favorable

to the Government, a reasonable juror could have found that the officer drove

from Parker’s bunkhouse to Stancil’s property and then to the bait site, all

within the State of Georgia.

      Second, during the undercover operation, Parker said to the

undercover agent: “You can kill them [bear] in Georgia legal right now with a

gun. You ain’t supposed to hunt over bait, though. Ain’t nobody knows that.

And I’ll tag it for you or whatever.” Gov. Trial Ex. 15b.         A juror could

reasonably have concluded from Parker’s statement that the adult bear shot

at the unlawful bait site by Arnold was thus killed in the State of Georgia.

Further, the jury could have drawn the reasonable inference, from Parker’s

statement “I’ll tag it for you or whatever[,]” that Parker would use his Georgia

bear hunting license to record the agent’s kill since the agent said he had a

North Carolina hunting license.

      Third, Stancil’s counsel elicited testimony from the Government’s first

witness that Arnold shot the adult bear in Georgia.         During the cross-
                                      46
  Case 2:13-cr-00015-MR-DLH     Document 156    Filed 06/03/15   Page 46 of 48
examination of Georgia Department of Natural Resources Law Enforcement

Officer David Webb, the following questioning occurred:

      Q. Chad Arnold killed a bear in Georgia. Is that correct?

      A. As far as I know. Yes, sir.

      Q. And you actually took warrants out on Walt Stancil for that is
      that correct?

      A. That is correct sir.

      Q. And Walt Stancil was charged in Georgia for basically allowing
      Chad Arnold to go up to where he had those baits maintained is
      that correct?

      A. That is correct.

      Q. And those charges are still pending Georgia is that correct?

      A. As far as I know yes, sir.

[Sept. 3, 2014, Trial Transcript at 45-46].

      Finally, after the undercover agent and Parker skinned and

dismembered the bear, Parker warned the agent not to tell anyone where he

had killed the bear upon his return home to North Carolina. Gov. Trial Ex.

19d. This cautionary statement by Parker to Arnold would have been entirely

unnecessary had the bear been taken in North Carolina since Arnold told

Parker he had a North Carolina hunting license. For all of these reasons,

then, Stancil’s third argument for post-verdict acquittal is denied.



                                       47
  Case 2:13-cr-00015-MR-DLH     Document 156    Filed 06/03/15   Page 47 of 48
                                 ORDER

     Accordingly, IT IS, THEREFORE, ORDERED that the Defendants’

motions for post-verdict acquittal pursuant to Federal Rule of Criminal

Procedure 29 [Docs. 131 and 132] are DENIED.

     IT IS SO ORDERED.

                              Signed: June 3, 2015




                                      48
  Case 2:13-cr-00015-MR-DLH   Document 156           Filed 06/03/15   Page 48 of 48
